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UNPUBLISHED OPINIONS
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                                                                  First Financial, Defendants delayed the transfer of his clients
                                                                  to his new agency, improperly re-assigned many of his clients
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                                                                  to other agents at First Financial, and took other steps to
    Only the Westlaw citation is currently available.
    United States District Court, E.D. Pennsylvania.              interfere with and destroy his business. 1 (See generally, Am.
                                                                  Compl., ECF No. 58.) Based on our rulings on dispositive
                Douglas K. KARPF                                  motions, Plaintiff's surviving claims allege breach of contract
                        v.                                        (Count 1), tortious interference with prospective contractual
           MASSACHUSETTS MUTUAL LIFE                              relations (Count 3), and unfair competition (Count 8) against
            INSURANCE COMPANY, et al.                             Defendants Fishman and First Financial. With regard to
                                                                  the tortious interference claim, Plaintiff seeks to recover
                CIVIL ACTION NO. 10-1401                          emotional distress damages in addition to the commissions
                             |                                    and other compensation he allegedly lost as a result of
                    Signed 02/05/2019                             Defendants' actions. Trial in this matter is scheduled to begin
                             |                                    February 11, 2019.
                     Filed 02/06/2019
                                                                  1
Attorneys and Law Firms                                                  A more detailed recitation of the factual
                                                                         background and procedural history is set forth
Don S. Ginsburg, The Ginsburg Law Firm, Flourtown, PA,                   in our Memorandum and Order issued February
Louis Charles Shapiro, Vineland, NJ, for Douglas K. Karpf.               28, 2018, granting in part and denying in part
                                                                         Defendants' Motion for Summary Judgment. (SJ
Denis C. Dice, Douglas Griffith Fogle, Joel Matthew                      Mem. Op., ECF. No. 83; SJ Order, ECF No. 84.)
Wertman, Winget, Spadafora, Schwartzberg, LLP,
Philadelphia, PA, for First Financial Group, CHFC Harris S.       II. LEGAL STANDARD
Fishman CLU.
                                                                     A. The Federal Rules of Evidence
                                                                  Under Rule 401, evidence is relevant if “it has any tendency
                     MEMORANDUM                                   to make a fact more or less probable that it would be without
                                                                  the evidence; and ... the fact is of consequence in determining
R. BARCLAY SURRICK, DISTRICT JUDGE                                the action.” Fed. R. Evid. 401. Irrelevant evidence is
                                                                  inadmissible, and relevant evidence is admissible unless
*1 Presently before the Court is Defendant's Amended
                                                                  otherwise provided by the Constitution, a federal statute, the
Motion in Limine (ECF No. 98). For the following reasons,
                                                                  Federal Rules of Evidence, or other rules prescribed by the
Defendants' Motion will be granted in part and denied in part.
                                                                  Supreme Court. Fed. R. Evid. 402. Relevant evidence may be
                                                                  excluded “if its probative value is substantially outweighed
I. BACKGROUND                                                     by a danger of ... unfair prejudice, confusing the issues, [or]
This action arises from a business dispute that ensued when       misleading the jury.” Fed. R. Evid. 403. Even if evidence is
an insurance agent with a substantial book of business            otherwise relevant and admissible, “[a] witness may testify to
transferred from one insurance agency to another. Plaintiff       a matter only if evidence is introduced sufficient to support
Douglas Karpf sold insurance policies for Massachusetts           a finding that the witness has personal knowledge of the
Mutual Life Insurance Company (“MassMutual”) for nearly           matter.” Fed. R. Evid. 602. Similarly, Rule 701 requires that
three decades. During the time period relevant to this dispute,   lay opinion testimony be “rationally based on the witness's
Plaintiff was a full-time agent with Defendant First Financial    perception.” Fed. R. Evid. 701.
Group (“First Financial”), a MassMutual general agency
operated by Defendant Harris S. Fishman (“Fishman”),               *2 Federal Rule of Evidence 702 governs the admissibility
Mass Mutual's general agent for the territory comprising          of testimony by experts. Fed. R. Evid. 702. As the Supreme
Pennsylvania, New Jersey and Delaware. In 2008, Karpf left        Court noted in Daubert, “[e]xpert evidence can be both
Fishman and First Financial and went to a new general agent,      powerful and quite misleading because of the difficulty in
Howard Cowan, and his agency, Cowan Financial Group.              evaluating it.” Daubert v. Merrell Dow Pharm., Inc., 509 U.S.
Plaintiff alleges that in connection with his departure from      579, 595 (1993). In order to address the concerns raised by


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the Supreme Court in Daubert, the Rule contains a “trilogy”
of requirements: “qualification, reliability and fit.” Estate      III. DISCUSSION
of Schneider v. Fried, 320 F.3d 396, 404 (3d Cir. 2003).           Defendants seeks to preclude Plaintiff from presenting the
The trial judge serves as a gatekeeper who ensures that the        following categories of evidence at trial: (1) vague, general,
trilogy of requirements is satisfied—“that any and all expert      and unsupported testimony regarding renewal business he
testimony or evidence is not only relevant but also reliable.”     allegedly lost in support of his breach of contract claim; (2)
Kannankeril v. Terminix Int'l, 128 F.3d 802, 805 (3d Cir. 1997)    vague, general, and unsupported testimony that Defendants
(citing Daubert, 509 U.S. at 589). “Qualification refers to the    interfered with his prospective contractual relations; (3)
requirement that the witness possess specialized expertise.”       testimony that Defendants tortiously interfered with a
Estate of Schneider, 320 F.3d at 404. This requirement has         prospective contractual relationship between Plaintiff and
been interpreted liberally, and “a broad range of knowledge,       Massachusetts Life Insurance Company (“MassMutual”);
skills, and training” may qualify someone as an expert.            (4) Plaintiff's damages expert report and testimony to the
Id. The reliability element requires that the testimony “be        extent they are based upon vague, unsupported assertions of
based on the methods and procedures of science rather than         lost business and commissions; (5) testimony not based on
on subjective belief or unsupported speculation; and the           personal knowledge about Fishman's role in the allegedly
expert must have good grounds for his or her opinion.” Id.         improper and incomplete transfer of Plaintiff's business;
(internal quotations and citations omitted). To satisfy the fit    (6) evidence relating to unpaid first-year commissions; (7)
requirement, “testimony must be relevant for the purposes of       evidence regarding a “eggshell skull” theory with regard
the case and must assist the trier of fact.” (Id.)                 to Plaintiff's alleged mental or emotional injuries; and (8)
                                                                   hearsay evidence of statements by Plaintiff's clients to
                                                                   Plaintiff or his assistant reporting that Defendants or their
   B. Motion in Limine Standards                                   agents allegedly told the clients that Plaintiff was “no longer
“The purpose of a motion in limine is to bar ‘irrelevant,          with the company.”
inadmissible, and prejudicial’ issues from being introduced
at trial, thus ‘narrow[ing] the evidentiary issues for trial[.]’
” Leonard v. Stemtech Health Scis., Inc., 981 F. Supp. 2d             A. Vague, Unsupported Testimony By Plaintiff (Issues
273, 276 (D. Del. 2013) (quoting Laufen Int'l, Inc. v. Larry          1, 2, and 5)
J. Lint Floor & Wall Covering, Co., No. 10–199, 2012 WL             *3 With regard to Plaintiff's testimony, Defendants
1458209, at *1 (W.D. Pa. Apr. 27, 2012) ). A court may             anticipate that he may offer broad and vague assertions about
exercise its discretion to rule in limine on evidentiary issues    Defendants' conduct and his losses that are not based on
“in appropriate cases.” In re Japanese Elec. Prods. Antitrust      personal knowledge and that fail to specify the business
Litig., 723 F.2d 238, 260 (3d Cir. 1983), rev'd on other           lost, quantify the loss, or explain how Defendants caused
grounds sub nom., Matsushita Elec. Indus. Co. v. Zenith            it. Such testimony, Defendants argue, is insufficient to
Radio Corp., 475 U.S. 574 (1986). However, “[t]he trial            establish damages with the requisite reasonable certainty or
court should exclude evidence on a motion in limine only           to establish the reasonable likelihood of any prospective
when the evidence is clearly inadmissible on all potential         business relations Plaintiff allegedly lost. Defendants further
grounds.” United States v. Tartaglione, 228 F. Supp. 3d 402,       argue that the probative value, if any, of such testimony is
406 (E.D. Pa. 2017). “The moving party bears the burden of         substantially outweighed by the danger of unfair prejudice
demonstrating that the challenged evidence is inadmissible         to the Defendants. Defendants argue that the challenged
‘on any relevant ground, and the court may deny a motion           testimony should be precluded under Federal Rule of
in limine when it lacks the necessary specificity with respect     Evidence 403 and, to the extent it is not based on personal
to the evidence to be excluded.’ ” Apotex, Inc. v. Cephalon,       knowledge, precluded under Rule 602.
Inc., No. 06-2768, 2017 WL 2362400, at *2 (E.D. Pa. May 31,
2017) (quoting Leonard, 981 F. Supp. 2d at 276). “Evidentiary      In his deposition, Plaintiff testified that he lost clients and
rulings, especially ones that encompass broad classes of           renewal commissions as a result of Defendants' alleged
evidence, should generally be deferred until trial to allow        wrongful conduct in connection with his transfer from First
for the resolution of questions of foundation, relevancy, and      Financial. (See, e.g., Karpf Dep. 102-05, 109-11, 126-28,
potential prejudice in proper context.” Leonard, 981 F. Supp.      149-53, 157-60, 176-86, Defs.' SJ Br. Ex. 2, ECF No. 76-1.)
2d at 276.                                                         Plaintiff identified several specific examples of clients he
                                                                   alleges were improperly transferred, (see, e.g., id. at 128,


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153, 178, 180-83), and he also referred generally to reports         relevant. However, the Court's prior ruling does not preclude
and other documentation of the business and commissions              Plaintiff from offering evidence that Defendants' alleged
he claims to have lost, (see, e.g., id. at 102-04, 127-28,           conduct directed at MassMutual interfered with Plaintiff's
146-61,180-86). The summary judgment record also included            prospective economic relationships with MassMutual
evidence from which a factfinder could infer that Defendants,        policyholders through which Plaintiff would otherwise have
and Fishman in particular, acted improperly with respect to          earned commissions or other pecuniary benefits. (See SJ
the transfer of Plaintiff's business. (SJ. Mem. Op. 13-21,           Mem. Op. 36-37, ECF No. 83 (finding sufficient evidence
36-37.) We found this evidence sufficient to withstand               at summary judgment that “Plaintiff had ... prospective
summary judgment.                                                    business relationships with his clients ... by virtue of which
                                                                     he reasonably expected pecuniary benefits in the form
However, in order to prevail at trial, Plaintiff must present        of commissions and incentive compensation he earned by
competent testimony and other evidence in accordance with            selling MassMutual insurance policies and policy renewals to
the Rules. To establish damages, Plaintiff “must give a              his clients.”).)
factfinder evidence from which damages may be calculated to
a ‘reasonable certainty.’ ” Ware v. Rodale Press, Inc., 322 F.3d
218, 226 (3d Cir. 2003) (quoting ATACS Corp. v. Trans World             C. The Opinions and Testimony of Plaintiff's Damages
Communications, Inc., 155 F.3d 659, 668 (3d Cir. 1998) ).               Expert (Issue 4)
Similarly, in order to prove his claim for tortious interference      *4 Defendants argue that the expert report and opinions
with prospective contractual relations, Plaintiff must establish     of Plaintiff's damages expert, Andrew C. Verzilli, should
a reasonable likelihood or probability the prospective relation      be precluded to the extent they are based on vague and
was likely to occur. See, e.g., Glenn v. Point Park Coll., 272       unsupported assertions regarding the renewal commissions
A.2d 895, 898-99 (Pa. 1971).                                         and prospective new business Plaintiff allegedly lost. Review
                                                                     of Verzilli's Report and Supplemental Report reveals that
At trial, Plaintiff will be precluded from offering factual or lay   his analysis is based on the assumption that Plaintiff lost
opinion testimony that is not based on personal or first-hand        virtually all of his income and future earning capacity and
knowledge or other proper evidentiary foundation. Plaintiff          was declared disabled as a result of the termination of
must present specific testimony based on personal knowledge          his employment with First Financial. (See Verzilli 3/20/15
and/or other evidence with proper foundation to support              Rept. 3; 8/8/18 Suppl. Report, ECF No. 104.) Based on
his claims and establish resultant damages with reasonable           this assumption and Plaintiff's past earnings, Verzilli projects
certainty. He will not be permitted to offer unfounded               Plaintiff's earning forward for approximately 17 years and
speculation and opinion. At this stage of the proceedings,           opines that his past lost earnings and future lost earning
however, the Court cannot further determine what testimony           capacity total approximately $2.8 million.
or evidence Plaintiff will seek to introduce, or whether such
evidence will be based on the necessary personal knowledge           Under Pennsylvania law, “loss of future earnings, if proven,
or foundation. As such, we will defer further ruling on              is properly included in a damage award.” Helpin v. Trustees of
admissibility of Plaintiff's testimony until the time of trial. If   Univ. of Pa., 10 A.3d 267, 270 (Pa. 2010) (citing Robertson v.
Plaintiff offers testimony or other evidence that Defendants         Atlantic Richfield Prods. Co., 537 A.2d 814, 823 (Pa. 1987).)
consider inadmissible, Defendants may assert their objection         However, “[t]he law does not permit a damages award to be
at that time, at which point the Court can better evaluate the       based on mere guesswork or speculation, but rather requires
probative value and potential prejudice of the evidence in light     a reasonable basis to support such an award.” Id. (citations
of its content and purpose.                                          omitted); see also Elcock v. Kmart Corp., 233 F.3d 734,
                                                                     754 (3d Cir. 2000) (“Although mathematical exactness is not
                                                                     required, [expert] testimony of post-injury earning capacity
  B. Evidence of Alleged Interference Involving                      must be based upon the proper factual foundation”). As the
  MassMutual (Issue 3)                                               court explained in JMJ Enters., Inc. v. Via Veneto Italian Ice,
The Court previously dismissed Plaintiff's claims against            Inc., No. 97-652, 1998 WL 175888 (E.D. Pa. Apr. 15, 1998):
MassMutual, including the claim for tortious interference
with prospective contractual relations. (ECF Nos. 56, 57.)             The requirement of a reasonable factual basis for an
Accordingly, evidence of alleged interference by MassMutual            expert's testimony arises from Rules 702 and 703. If an
with Plaintiff's prospective contractual relations is not              expert's testimony is not based on admissible evidence,


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  Rule 703 requires that the expert base their opinion on data
  that is “reasonably relied upon by experts in the particular
  field.” Fed.R.Evid. 703.                                              E. “Eggshell Skull” Theory As To Mental or
                                                                        Emotional Injuries (Issue 7)
  Rule 702 states that expert testimony is only admissible            *5 Defendants seek to preclude Plaintiff from relying upon
  if it “will assist the trier of fact.” Fed.R.Evid. 702.            an “eggshell skull” theory that his pre-existing psychiatric
  Expert testimony that is based on speculation or unrealistic       condition made him particularly vulnerable to emotional
  assumptions is not helpful.                                        distress and renders Defendants' liable for aggravation of his
                                                                     pre-existing mental condition. Defendants contend that, under
JMJ Enters., 1998 WL 175888, at *6. “Federal courts                  Pennsylvania law, the “eggshell skull” doctrine does not apply
applying the standards established by Rule[s] 702 and 703            to pre-existing mental or emotional conditions.
have permitted damages experts to make the assumptions
necessary to render a sound opinion, so long as such                 The “eggshell skull” rule refers to the principle that “a
assumptions have a reasonable basis in the factual record.”          tortfeasor must take his victim as he finds him, and
Brill v. Marandola, 540 F. Supp. 3d 563, 568 (E.D. Pa.               consequently, the tortfeasor is liable for the full extent of the
2008) In addition, experts are permitted to rely on information      injury that his conduct has caused.” Meyer v. Union R. Co.,
provided by the party who hired them, and “experts are not           865 A.2d 857, 863 (Pa. Super. Ct. 2004). This principle is
required to ‘eschew reliance on a [party's] account of factual       reflected in the Restatement (Second) of Torts § 461, which
events that the experts themselves did not observe.’ ” Brill         states:
v. Marandola, 540 F. Supp. 3d 563, 568 (E.D. Pa. 2008)
(quoting Tormenia v. First Investors Realty Co., 251 F.3d              § 461 Harm Increased in Extent by Other's Unforeseeable
128, 135 (3d Cir. 2000) ). “That said, an expert's testimony           Physical Condition
nonetheless ‘must have some connection to existing facts,’
and ‘expert testimony that ignores existing data and is based          The negligent actor is subject to liability for harm to
on speculation is inadmissible.’ ” Id. (quoting JMJ Enters.,           another although a physical condition of the other which is
1998 WL 175888, at *6.)                                                neither known nor should be known to the actor makes the
                                                                       injury greater than that which the actor as a reasonable man
As noted above, we cannot determine at this juncture                   should have foreseen as a probable result of his conduct.
what evidence of damages Plaintiff will present at trial, or
                                                                     Restatement (Second) of Torts § 461 (1965) (emphasis
whether Verzilli's opinions and underlying assumptions will
                                                                     added). The “eggshell skull” rule, as framed in the
be plausible and not speculative in light of that evidence.
                                                                     Restatement (Second) of Torts, is well established in
Accordingly, we will grant Defendants' Motion insofar as
                                                                     Pennsylvania law. See Pavorsky v. Engels, 188 A.2d 731, 733
Verzilli's analysis and opinions will not be admitted unless
                                                                     (Pa. 1963) (citing Offensend v. Atl. Ref. Co., 185 A. 745, 746–
and until there is sufficient factual basis in the trial record to
                                                                     47 (Pa. 1936) ).
support their admissibility under Rules 702 and 703.
                                                                     However, the application of the “eggshell skull” rule in
   D. Evidence Regarding Alleged Unpaid First-year                   Pennsylvania has been limited to plaintiffs who suffer
   Commissions (Issue 6)                                             physical injuries or have a pre-existing physical condition.
In our ruling on Defendants' summary judgment motion,                See, e.g., Botek v. Mine Safety Appliance Corp., 611 A.2d
we determined that the record was devoid of “any                     1174, 1177 (Pa. 1992) (holding that plaintiff who suffered
evidence that would permit a reasonable fact finder to               “objective, measurable, observable physical injuries” could
conclude that Plaintiff was denied rightfully earned first-year      recover for resulting “psychological and emotional pain and
commissions.” Moreover, it is undisputed that Plaintiff has          suffering”); Pavorsky, 188 A.2d at 733 (applying rule where
not worked or written any new policies since 2009. (Karpf            victim had a pre-existing herniated disc); Cingota v. Milliken,
Dep. 187-88, 193.) Accordingly, and as we previously held,           428 A.2d 600, 602 (Pa. Super. Ct. 1981) (involving pre-
“Plaintiff's breach of contract claim cannot rest on the failure     existing back condition); Fretts v. Pavetti, 422 A.2d 881,
to provide first-year commissions.” (SJ Mem. Op. 14.) As             885 (Pa. Super. Ct. 1980) (involving pre-existing physical
such, evidence regarding any loss of such commissions is not         condition). Our conclusion in this regard is consistent with
relevant and will not be admitted at trial.                          the Pennsylvania Standard Jury Instruction on the “eggshell



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skull” rule, which appears limited to pre-existing physical       in support of an “eggshell skull” theory with respect to his
conditions or injuries. Pa. SSJI (CIV), 7.70. That instruction    alleged emotional distress damages. 2
states:
                                                                  2
  Damages should be awarded for all injuries caused by the               We further note that Plaintiff's alleged emotional
  [accident] [occurrence] even if:                                       distress damages are compensable only with
                                                                         respect to his claim for tortious interference
  1. the injuries caused by the [accident] [occurrence] were             with prospective contractual relations, and only
  more severe than could have been foreseen because of the               if he establishes pecuniary loss from the alleged
  plaintiff's prior physical condition; or                               interference. See Pelagatti v. Cohen, 536 A.2d
                                                                         1337, 1343-44 (Pa. Super. Ct. 1987) (holding that
  2. a preexisting medical condition was aggravated by the
                                                                         absent pecuniary loss, a plaintiff asserting tortious
  [accident] [occurrence]. If you find that the plaintiff did
                                                                         interference claim cannot recover for consequential
  have a preexisting condition that was aggravated by the
                                                                         emotional harm); see also Dreiling Millennium
  defendant's negligence, the defendant is responsible for any
                                                                         Trust II v. Reliant Renal Care, Inc., 833 F. Supp.
  aggravation caused by the [accident] [occurrence].
                                                                         2d 429, 435 (E.D. Pa. 2011) (same); Shiner v.
  I remind you that the defendant can be held responsible                Moriarty, 706 A.2d 1228, 1239 (Pa. Super. Ct.
  only for those injuries or the aggravation of a prior injury           1998) (same).
  or condition that you find was factually caused by the
  [accident] [occurrence].                                           F. Hearsay Evidence Regarding Statements by
                                                                     Plaintiffs' Clients (Issue 8)
Id. (emphasis added).                                             In his deposition, Plaintiff testified that after he left First
                                                                  Financial, Defendants or their agents told his clients who
Finally, we are not aware of any Pennsylvania court that          called for him that Plaintiff “was no longer with the
has adopted or cited to the “eggshell skull” formulation of       company.” (Karpf. Dep. 140-42.) Plaintiff identified two
the Restatement (Third) of Torts § 31. That section, unlike       clients by name as to whom this allegedly occurred, and he
the corresponding provision in the Restatement (Second),          testified that the clients then told him and/or his assistant
expressly includes preexisting mental conditions and states:      about the phone calls. Id. Defendants seek to exclude
                                                                  evidence of the alleged statements to Plaintiff's clients on the
                                                                  ground that they constitute inadmissible hearsay or double
             *6 When an actor's tortious conduct                  hearsay.
            causes harm to a person that, because
            of a preexisting physical or mental                   The Federal Rules of Evidence define “hearsay” as “a
            condition or other characteristics of the             statement that: ... the declarant does not make while testifying
            person, is of a greater magnitude or                  at the current trial or hearing; [which] a party offers in
            different type than might reasonably                  evidence to prove the truth of the matter asserted in the
            be expected, the actor is nevertheless                statement.” Fed. R. Evid. 801(c). The “statement” can be
            subject to liability for all such harm to             “a person's oral assertion, written assertion, or nonverbal
            the person.                                           conduct, if the person intended it as an assertion.” Fed. R.
                                                                  Evid. 801(a). “Hearsay is not admissible [at trial] unless any
                                                                  of the following provides otherwise: a federal statute; these
Restatement (Third) of Torts § 31 (2010) (emphasis added).        rules; or other rules prescribed by the Supreme Court.” Fed. R.
Moreover, the comments to that provision expressly state that     Evid. Rule 802. Double or multiple hearsay is not admissible
it “adopts and extends § 461 of the Restatement Second of         unless each part of the statements falls within an exclusion
Torts,” which “was limited to physical conditions....” Id. cmt.   from, or exception to, the hearsay rule. See Fed. R. Evid.
a.                                                                805; In re Flat Glass Antitrust Litig., 385 F.3d 350, 376 (3d
                                                                  Cir. 2004) (noting that when document contains several out-
Based on the present state of Pennsylvania law on this            of-court assertions, document is not admissible unless each
issue, Plaintiff will be precluded from presenting evidence       assertion is admissible under exclusion or exception from
                                                                  hearsay rule).


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                                                                       admitted absent a further offer of proof by Plaintiff at trial to
                                                                       establish their admissibility under a hearsay exception or for
Plaintiff contends that evidence of the alleged statements to
                                                                       a proper non-hearsay purpose.
his clients should be admitted under the residual exception
to the hearsay rule, see Fed. R. Evid. 807, or as excited
utterances pursuant to Rule 803(2). Plaintiff further contends         IV. CONCLUSION
that the statements may be admissible, subject to a limiting           For the foregoing reasons, Defendants' Amended Motion in
instruction, as non-hearsay to the extent they are not offered         Limine will be granted in part and denied in part as set forth
for the truth of the matter asserted in the statements.                in the accompanying Order.

 *7 On the present record, there is no question that the
statements at issue are hearsay or double hearsay, and Plaintiff       All Citations
has failed to establish that they are admissible under Rules
807 or 803(2) or as non-hearsay. The statements will not be            Not Reported in Fed. Supp., 2019 WL 468808


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In re: Tylenol (Acetaminophen) Marketing, Sales Practices,..., Not Reported in Fed....
2016 WL 4538621

                                                                        FEDERAL JUDICIAL CENTER, MANUAL FOR
                                                                        COMPLEX LITIGATION, FOURTH EDITION
                  2016 WL 4538621
                                                                        360 (2004); DUKE LAW CENTER FOR
    Only the Westlaw citation is currently available.
                                                                        JUDICIAL STUDIES, MDL STANDARDS AND
    United States District Court, E.D. Pennsylvania.
                                                                        BEST PRACTICES 16-21 (2014).
       IN RE: TYLENOL (ACETAMINOPHEN)
       MARKETING, SALES PRACTICES, AND                          I. LEGAL STANDARD
        PRODUCTS LIABILITY LITIGATION.                          The admissibility of expert testimony is governed by Federal
             This Document Relates to:                          Rules of Evidence 702 and 703 as well as by Daubert v.
                                                                Merrell Dow Pharms., Inc., 509 U.S. 579 (1993), and its
        Rana Terry, as Personal Representative
          and Administrator of the Estate of                    progeny. 3 See In re Paoli RR Yard PCB Litigation (Paoli II),
                                                                35 F.3d 717, 735 (3d Cir. 1994). “Under the Federal Rules
          Denice Hayes, Deceased, Plaintiff,
                                                                of Evidence, a trial judge acts as a ‘gatekeeper’ to ensure
                          v.
                                                                that ‘any and all expert testimony or evidence is not only
    McNeil-PPC, Inc., McNeil Consumer Healthcare,
                                                                relevant, but also reliable.’ ” Pineda v. Ford Motor Co., 520
      and Johnson & Johnson, Inc., Defendants.                  F.3d 237, 243 (3d Cir. 2008)(quoting Kannankeril v. Terminix
                                                                Int'l, Inc., 128 F.3d 802, 806 (3d Cir. 1997)). The Third Circuit
                       MDL NO. 2436
                                                                recognizes a “liberal policy of admissibility” regarding Rule
                              |
                                                                702. Pineda, 520 F.3d at 243 (quoting Kannankeril, 128 F.3d
                       2:13-md-02436
                                                                at 806); United States v. Schiff, 602 F.3d 152, 173 (3d Cir.
                              |
               Civil Action No. 2:12-cv-07263                   2010). 4
                              |
                     Signed 08/31/2016                          3       Daubert held that the Federal Rules of Evidence,
                                                                        specifically Rule 702, controlled the issue of when
                                                                        experts were qualified. Daubert v. Merrell Dow
                     MEMORANDUM                                         Pharms., Inc., 509 U.S. 579, 587-88 (1993). It
                                                                        found that Rule 702 superseded the Court's prior
Stengel, District Judge.                                                precedent on the subject found in Frye v. United
                                                                        States, 54 App.D.C. 46, 47, 293 F. 1013, 1014
 *1 This case is part of a Multidistrict Litigation (MDL)
                                                                        (1923). Id. at 587. Daubert went on to clarify what
involving claims of liver damage from the use of Tylenol at
                                                                        was required under Rule 702, as compared to Frye.
or just above the recommended dosage. 1 This is the first               See id. at 589-598.
“bellwether” case scheduled for trial. 2 The plaintiff moves
                                                                4
to exclude the testimony of Dr. Judith Jones, the defense's             See also Holbrook v. Lykes Brothers Steamship
regulatory expert, under Daubert. For the reasons stated                Company, Inc., 80 F.3d 777, 780 (3d Cir. 1996);
below, I will grant their motion in part and deny it in part.           Zaprala v. USI Servs. Gp., Inc., No. 09–1238,
                                                                        2013 WL 1148335, at *6 (E.D. Pa. Mar. 20,
1                                                                       2013)(quoting Pineda, 520 F.3d at 243).
       See Master Compl., 13-md-2436, Doc. No. 32.
       There are close to two hundred other cases included      “[B]ecause expert evidence is often more misleading than
       in this MDL, along with several similar cases in         other evidence, Rule 403 gives a judge more power over
       New Jersey state court.                                  experts than over lay witnesses.” In re Paoli RR Yard
                                                                PCB Litigation (Paoli II), 35 F.3d 717, 747 (3d Cir. 1994).
2      A “bellwether” case is a test case. “Bellwether”         However, “in order for a district court to exclude scientific
       trials should produce representative verdicts            evidence, there must be something particularly confusing
       and settlements. The parties can use these               about the scientific evidence at issue— something other than
       verdicts and settlements to gauge the strength           the general complexity of scientific evidence.” Id.
       of the common MDL claims to determine if a
       global resolution of the MDL is possible. See



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                                                                    2004)(citations omitted). “As long as an expert's scientific
  a. Rule 702                                                       testimony rests upon ‘good grounds, based on what is known,’
Federal Rule of Evidence 702 has three major requirements:          it should be tested by the adversary process—competing
1) the expert must be qualified; 2) the expert must testify         expert testimony and active cross–examination—rather than
about matters requiring scientific, technical, or specialized       excluded from jurors' scrutiny for fear that they will not grasp
knowledge; and 3) the testimony must assist the trier of fact. 5    its complexities or satisfactorily weigh its inadequacies.” Id.
Pineda, 520 F.3d at 243 (citing Kannankeril, 128 F.3d at 806).      at 244 (citations omitted).
702's inquiry should be a “flexible one.” Daubert v. Merrell
Dow Pharms., Inc., 509 U.S. 579, 594 (1993).                        6       See also Keller v. Feasterville Family Health Care,
                                                                            557 F. Supp. 2d 671, 675 (E.D. Pa. 2008)(Rice, J.).
5       Federal Rule of Evidence 702 states:
           A witness who is qualified as an expert
           by knowledge, skill, experience, training, or                       ii. Expert's Methods Must be Reliable
           education may testify in the form of an opinion
                                                                    This Circuit interprets the second factor as one of “reliability,”
           or otherwise if:
                                                                    i.e., the testimony is admissible so long as the process
              (a) the expert's scientific, technical, or other
                                                                    or technique the expert used in formulating the opinion
                 specialized knowledge will help the trier
                                                                    is reliable. Pineda, 520 F.3d at 244. An expert's opinion
                 of fact to understand the evidence or to
                                                                    need not be correct, only reliable. See In re Paoli RR
                 determine a fact in issue;
                                                                    Yard PCB Litigation (Paoli II), 35 F.3d 717, 744 (3d Cir.
              (b) the testimony is based on sufficient facts
                                                                    1994)(“This does not mean that plaintiffs have to prove their
                 or data;
                                                                    case twice—they do not have to demonstrate to the judge
              (c) the testimony is the product of reliable
                                                                    by a preponderance of the evidence that the assessments
                 principles and methods; and
                                                                    of their experts are correct, they only have to demonstrate
        (d) the expert has reliably applied the principles and
                                                                    by a preponderance of evidence that their opinions are
        methods to the facts of the case.
                                                                    reliable.” (emphasis in original)). “[A]n expert is permitted
              FED. R. EVID. 702.
                                                                    wide latitude to offer opinions, including those that are not
                                                                    based on firsthand knowledge or observation.” Daubert, 509
                i. Expert Must Be Qualified                         U.S. at 592. “[I]t is the burden of the party offering the
                                                                    expert scientific testimony to demonstrate reliability by a
 *2 An expert's qualifications may include education,               preponderance of the evidence.” In re TMI Litig., 193 F.3d
provided it is in a field related to the one in which the expert    613, 705 (3d Cir. 1999)(citing Paoli II, 35 F.3d at 744). 7
intends to testify. Fedor v. Freightliner, Inc., 193 F. Supp. 2d
820, 827 (E.D. Pa. 2002). Overall, the court will consider both     7
academic training and practical experience to determine if the              See also FED. R. EVID. 702, Advisory Committee
expert has “more knowledge than the average lay person”                     Note (2000 Amendments)(“Under that Rule, the
on the subject. Id. at 827-28 (citing Waldorf v. Shuta, 142                 proponent has the burden of establishing that the
F.3d 601, 627 (3d Cir. 1998)). “An expert may be generally                  pertinent admissibility requirements are met by a
qualified but may lack qualifications to testify outside his area           preponderance of the evidence.”) (citing Bourjaily
of expertise.” Calhoun v. Yamaha Motor Corp., U.S.A., 350                   v. United States, 483 U.S. 171 (1987)).
F.3d 316, 322 (3d Cir. 2003).                                       “Rule 702 grants the district judge the discretionary authority,
                                                                    reviewable for its abuse, to determine reliability in light
However, this does not mean that the “best qualified” expert        of the particular facts and circumstances of the particular
must testify. “[W]itnesses may be competent to testify as           case.” Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137,
experts even though they may not, in the court's eyes, be the       158 (1999). Judges considering this factor should look to
‘best’ qualified.” Holbrook v. Lykes Bros. S.S. Co., Inc., 80       whether a theory, technique, or opinion can be tested or
F.3d 777, 782 (3d Cir. 1995). 6 “Rule 702 and Daubert put           has been subject to peer review or publication. Daubert,
their faith in an adversary system designed to expose flawed        509 U.S. at 593. “The fact of publication (or lack thereof)
expertise.” U.S. v. Mitchell, 365 F.3d 215, 244-45 (3d Cir.         in a peer reviewed journal thus will be a relevant, though



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not dispositive, consideration in assessing the scientific
validity of a particular technique or methodology on which        FED. R. EVID. 703. The trial court must evaluate whether the
an opinion is premised.” Id. at 594. A court should also          data used by an expert is reasonably relied upon by experts in
consider the known or potential rate of error involved in         the field. See In re Paoli RR Yard PCB Litigation (Paoli II),
a scientific method. Id. “Reliability” does not require that      35 F.3d 717, 747-49 (3d Cir. 1994).
a technique or methodology be generally accepted by a
scientific community. Id. See also id. at 597-98. However,
                                                                  II. Judith Jones, M.D., Ph.D.
“[w]idespread acceptance can be an important factor in ruling
                                                                  The plaintiff offers many reasons why Dr. Judith Jones should
particular evidence admissible” while a minimally supported
                                                                  not be permitted to testify as an expert under Daubert. In her
technique “may properly be viewed with skepticism.” Id.
                                                                  expert report, Dr. Jones offers a wide range of opinions about
                                                                  this case: 1) she opines that the defendants' actions in terms of
                                                                  pharmacovigilance were appropriate based on regulations and
                iii. Expert Must be Helpful                       industry standards, 2) she offers expert testimony about the
                                                                  regulatory structure governing Tylenol and acetaminophen,
 *3 The third factor “is typically understood in terms            3) she opines about whether acetaminophen is “generally
of whether there is a sufficient ‘fit’ between the expert's       recognized as safe and effective” (GRASE) under Food and
testimony and the facts that the jury is being asked to           Drug Administration (FDA) regulations, and 4) she claims
consider.” United States v. Schiff, 602 F.3d 152, 172-73 (3d      that the Extra Strength Tylenol label was adequate.
Cir. 2010)(citing Daubert, 509 U.S. at 591). See also In re:
TMI Litigation, 193 F.3d 613, 670 (3d Cir. 1999). This factor
is about relevance. “Expert testimony which does not relate to
any issue in the case is not relevant and, ergo, non-helpful.”                  a. Dr. Jones is Qualified to Offer
Daubert, 509 U.S. at 591 (quoting 3 Weinstein & Berger                             Some Opinions But Not All
¶ 702[02], p. 702–18). “Rule 702's ‘helpfulness’ standard
                                                                  Dr. Judith Jones has professional experience in medicine
requires a valid scientific connection to the pertinent inquiry
                                                                  and pharmaceutical consulting. Dr. Jones is a board-certified
as a precondition to admissibility.” Id. at 591-92.
                                                                  doctor of internal medicine with a Ph.D. in pharmacology
                                                                  and a specialty in geriatrics. 8 She has held a variety of
  b. Rule 703                                                     teaching positions at several medical schools and universities,
Under Federal Rule of Evidence 703, the data underlying the       including Tufts, Michigan, and Georgetown and in the areas
expert's opinion is the central focus. Rule 703 states:           of public health, pharmacology, and medicine. 9 Dr. Jones
                                                                  continues to be licensed in Virginia, but she has not practiced
                                                                  medicine since 1989. 10
            An expert may base an opinion on
            facts or data in the case that the expert             8       Curriculum Vitae of Judith Jones (Doc. No. 157,
            has been made aware of or personally
                                                                          Ex. 1); J. Jones Expert Report at 1 (Doc. No. 157,
            observed. If experts in the particular
                                                                          Ex. 1); J. Jones Dep., May 5, 2015 at 47-49 (Doc.
            field would reasonably rely on those
                                                                          No. 157, Ex. B).
            kinds of facts or data in forming an
            opinion on the subject, they need not                 9       See J. Jones Expert Report at 1-2 (Doc. No. 157,
            be admissible for the opinion to be                           Ex. 1); Curriculum Vitae of Judith Jones (Doc. No.
            admitted. But if the facts or data                            157, Ex. 1); J. Jones Dep., May 5, 2015 at 50-52
            would otherwise be inadmissible, the                          (Doc. No. 157, Ex. B). I note, however, that most
            proponent of the opinion may disclose                         of these courses were typically only one week long.
            them to the jury only if their probative                      Curriculum Vitae of Judith Jones (Doc. No. 157,
            value in helping the jury evaluate the                        Ex. 1); J. Jones Dep., May 5, 2015 at 50-52 (Doc.
            opinion substantially outweighs their                         No. 157, Ex. B).
            prejudicial effect.




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10                                                                        Ex. 1); J. Jones Dep., May 5, 2015 at 18 (Doc. No.
       J. Jones Dep., May 5, 2015 at 47, 289 (Doc. No.
                                                                          157, Ex. B).
       157, Ex. B).
                                                                   In 1988, Dr. Jones founded a consulting and education
Dr. Jones has experience working for and with the Food
and Drug Administration (FDA). From 1973 through 1978,             company called The Degge Group. 17 Her company
Dr. Jones worked as a consultant for the FDA. In that role,        specializes in epidemiological studies and regulatory
she served on an advisory panel reviewing the safety of            evaluation of medical product safety. 18 The Degge Group
hemorrhoidal products at the first level of the monograph          advises manufacturers on the appropriate management of
process. 11 From 1978 to 1983, Dr. Jones became the                safety issues of their products including regulatory actions
Director of the Division of Drug Experience (later known           and product labeling. 19 Dr. Jones also heads a nonprofit
as the Division of Drug and Biological Experience) of the          organization called Pharmaceutical Education and Research
FDA. 12 In this role, Dr. Jones drafted definitions, guidelines,   Institute (PERI), which was founded in 1989. PERI educates
and procedures to expand the FDA's adverse event reports           scientists and other personnel in the pharmaceutical industry
(AER) system and to instruct manufacturers on how to               about the regulatory issues. 20
appropriately submit voluntary AERs. 13 Her work helped
shape reporting procedures to identify “signals” from medical      17     J. Jones Dep., May 5, 2015 at 47-48 (Doc. No. 157,
product adverse events in order to determine of the marketed              Ex. B).
products continued to be safe as labeled. 14
                                                                   18     J. Jones Expert Report at 1 (Doc. No. 157, Ex. 1).
11                                                                 19
       J. Jones Expert Report at 1 (Doc. No. 157, Ex. 1);                 J. Jones Expert Report at 1 (Doc. No. 157, Ex. 1).
       Curriculum Vitae of Judith Jones (Doc. No. 157,
                                                                   20
       Ex. 1); J. Jones Dep., May 5, 2015 at 17, 21, 23                   J. Jones Expert Report at 1-2 (Doc. No. 157, Ex. 1).
       (Doc. No. 157, Ex. B).                                      Dr. Jones' experience qualifies her to offer testimony about
12     J. Jones Expert Report at 1 (Doc. No. 157, Ex. 1);          pharmaceutical industry standards and AERs. 21 She has
       Curriculum Vitae of Judith Jones (Doc. No. 157,             been consulting on these topics for close to thirty years
       Ex. 1); J. Jones Dep., May 5, 2015 at 17-19 (Doc.           and had prior experience working for the FDA. She is
       No. 157, Ex. B).                                            especially qualified to offer testimony about AERs and what
                                                                   significance they may have in informing drug manufacturers
13                                                                 of risks to consumers.
       J. Jones Expert Report at 1 (Doc. No. 157, Ex. 1);
       J. Jones Dep., May 5, 2015 at 27 (Doc. No. 157,
       Ex. B).                                                     21     The plaintiff argues that Dr. Jones is not
14                                                                        qualified to offer an opinion about the defendants'
       J. Jones Expert Report at 1 (Doc. No. 157, Ex. 1);
                                                                          pharmacovigilance practices because she does not
       J. Jones Dep., May 5, 2015 at 18 (Doc. No. 157,
                                                                          have expertise in this area nor has she reviewed
       Ex. B).
                                                                          the appropriate pharmacovigilance documents of
*4 In 1983, Dr. Jones decided to work half-time; she stepped              the defendants to render an accurate opinion.
down from her role as Director. 15 From 1983 to 1985, she                 In response, the defendants indicated Dr. Jones
served as a part-time special assistant to the Director of                will not offer an opinion on the subject of
the Office of Biometrics and Epidemiology in the Bureau                   pharmacovigilance at trial. The plaintiff's argument
of Drugs. 16 In 1985, she left the FDA to pursue other                    is moot.
opportunities.                                                     Dr. Jones does not appear to be qualified to offer opinions
                                                                   about the regulatory structure or duties of drug manufacturers
15                                                                 under the monograph system. Dr. Jones' only experience
       J. Jones Dep., May 5, 2015 at 18 (Doc. No. 157,
       Ex. B).                                                     working with the monograph regulatory system was her time
                                                                   as a consultant on a recommendation panel over forty years
16     J. Jones Expert Report at 1 (Doc. No. 157, Ex. 1);          ago. 22 Her understanding of the monograph system is based
       Curriculum Vitae of Judith Jones (Doc. No. 157,             on guidance general counsel for the FDA gave her panel at


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that time. 23 Dr. Jones has never worked in the FDA offices           Acetaminophen Panel Report, Jul. 8, 1977 (Pl. Ex.
responsible for New Drug Application (NDA) or monograph               10, filed under seal); TFM, Nov. 16, 1988 (Pl. Ex.
                                                                      4, filed under seal). This information is a key part of
compliance. 24 She has never reviewed or drafted a tentative
                                                                      this case. Her inability to speak to this issue raises
final monograph or a final monograph. 25 Her consulting               concerns about her expertise on this subject.
company has never advised a client on how to change the
                                                                 27
label on a monograph-regulated drug. 26 For these reasons,            See also In Re Gadolinium-based Contrast Agents
Dr. Jones is precluded from offering an opinion about whether         Products Liability Litig., No. 1:08 GD 50000,
the defendants complied with their regulatory duties under the        MDL No. 1909, 2010 WL 1796334, at *30-31
                                                                      (N.D. Ohio May 4, 2010)(excluding defense expert
NDA or monograph systems. 27 She is not qualified to offer
                                                                      opining about labeling process when expert only
an opinion in this area. 28                                           worked at FDA for three years as a medical officer).

22                                                               28
       J. Jones Dep., May 5, 2015 at 186 (Doc. No. 157,               Dr. Jones is also of the opinion that acetaminophen
       Ex. B).                                                        is safe when taken at recommended doses. The
                                                                      plaintiff argues that she is not qualified to offer an
23                                                                    opinion about the hepatic effect of acetaminophen
       J. Jones Dep., May 5, 2015 at 186 (Doc. No. 157,
       Ex. B).                                                        at the recommended dose. Though she is board
                                                                      certified in internal medicine and has a Ph.D.
24     J. Jones Dep., May 5, 2015 at 20, 22, 23-25, 142               in pharmacology, Dr. Jones has not practiced as
       (Doc. No. 157, Ex. B); id. at 23 (“Other than your             a physician in over twenty years. Instead, her
       work as a consultant to FDA on the hemorrhoidal                focus has been on regulatory and consulting work.
       panel from 1973 to 1978, have you ever been                    Curriculum Vitae of Judith Jones (Doc. No. 157,
       employed with FDA in any capacity responsible                  Ex. 1); J. Jones Dep., May 5, 2015 at 47-48 (Doc.
       for regulating monograph drugs? A. Not, not other              No. 157, Ex. B). Though she has a “special interest
       than that, that panel.”). Dr. Jones was involved in            in effects of drugs on hepatic function,” Dr. Jones
       issues related to Reye's syndrome's link to aspirin,           admits that she is not an expert on liver failure. J.
       a monograph-regulated OTC drug. Beyond that,                   Jones Expert Report at 2 (Doc. No. 157, Ex. 1);
       she was not involved in drafting or enforcing                  J. Jones Dep., May 5, 2015 at 85 (Doc. No. 157,
       monograph regulations. Id. at 24.                              Ex. B)(A: “I'm not an expert on liver failure.”).
25                                                                    She also has not conducted academic studies in
       J. Jones Dep., May 5, 2015 at 24, 46 (Doc. No. 157,
                                                                      this research area. Dr. Jones has not reviewed the
       Ex. B).
                                                                      available data on this topic (or if she did, could not
26                                                                    speak about it in her deposition). See J. Jones Dep.,
       J. Jones Dep., May 5, 2015 at 70 (Doc. No. 157,
       Ex. B)(“Q. Have you ever advised a company or                  May 5, 2015 at 270-71 (Doc. No. 157, Ex. B)(“Q.
       assisted them in drafting an NDA deviation [a                  What is the data from the American Association
       method for amending a Final Monograph]? A. No.                 of the Study of the Liver, from the AIRS database,
       Q. Have you ever advised a company or offered                  the FDA's own database show? A. I can't say....Q.
       any advice to a company on how to change, and                  Have you looked at the, provided in the course of
       the steps to change a final monograph? A. No.                  your review for this case a document called the
       Q. Have you ever advised a company or assisted                 Acetaminophen Working Group's document that
       a company or offered, as it relates to changing a              was presented to Janet Woodcock on February 2nd,
       label or altering a label of an OTC product that is            2008?...A: I don't recall.”).
       governed solely by a tentative final monograph? A.             Her methodology is this respect is also
       No.”).                                                         questionable. Dr. Jones admits that she has not
       During her deposition, Dr. Jones was not aware of              reviewed all the relevant literature about this issue
       what the dosing regimen was for Extra Strength                 —from McNeil's internal documents and from
       Tylenol under the Tentative Final Monograph                    outside sources; at most, she read summaries of the
       (TFM). See J. Jones Dep., May 5, 2015 at                       information provided in McNeil's annual reports.
       118, 280-81 (Doc. No. 157, Ex. B). See also                    See J. Jones Dep., May 5, 2015 at 82-83, 103,


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       112-13, 143, 159, 194-96, 217-18, 223-25, 238-40,           standards. Dr. Jones did not read the depositions of Dr. Ed
       243-44 (Doc. No. 157, Ex. B). Dr. Jones testified           Kuffner, who was previously in charge of drug safety and
       that she only read summaries of trials for Extra            surveillance at McNeil. 31 She said that she does not usually
       Strength Tylenol's NDA that took place prior to             review the “opinions of the company” before rendering her
       1975 (when the NDA was approved), as well as
                                                                   own opinion, since it is meant to be independent. 32
       summary material of the discussions held at the
       2002 and 2009 advisory committee meetings. She
                                                                   30
       also bases her opinion on medical literature from                  See J. Jones Dep., May 5, 2015 at 237-38 (Doc. No.
       forty years ago. See J. Jones Dep., May 5, 2015 at                 157, Ex. B)(“Q. So how many spontaneous reports
       115-16 (Doc. No. 157, Ex. B).                                      did you review? A. I reviewed the summaries of the
       The defendants claim that Dr. Jones will not                       reports. I didn't review, I, I did review some of the
       be testifying about general or specific causation                  case reports of liver effects, but I didn't review all
       or about pharmacovigilance. Any opinion Dr.                        of the spontaneous reports. Just the summaries. Q.
       Jones offers about the safety of acetaminophen at                  Well, where did you get the summaries from? A.
       recommended doses will be excluded. She would                      They were in the annual reports....And about how
       not be qualified to offer this opinion based on her                many years of annual reports did you read? A. I
       credentials and/or this opinion would not be helpful               don't recall precisely, five or six.”).
       to the jury for the purposes she is being called to         31     See J. Jones Dep., May 5, 2015 at 35-36 (Doc. No.
       testify.
                                                                          157, Ex. B).
                                                                   32     J. Jones Dep., May 5, 2015 at 36 (Doc. No. 157,
          b. Questions Regarding Dr. Jones'
                                                                          Ex. B).
      Methodology Go to Weight, not Admissibility
                                                                   Dr. Jones admitted that she was not provided and did
 *5 The plaintiff questions whether Dr. Jones' methodology         not review McNeil's surveys indicating that up to 40% of
is appropriate. She points out that Dr. Jones did not review all   consumers take more than the recommended dose of over-the-
available documents in developing her opinions. Dr. Jones is       counter (OTC) pain relievers, including Tylenol, because the
qualified to offer opinions about industry standards and offer     medication is marketed as “safe.” 33
an opinion about whether the defendants' actions fell below
what a “reasonable drug manufacturer” would do. However,           33
Dr. Jones admited during her deposition that she has not                  Dr. Jones also claims that changing a label under
reviewed many internal documents of the defendants related                the Tentative Final Monograph cannot be done
                                                                          without a company first having “a dialogue” with
to actions they have taken in reaching her opinion. 29
                                                                          the FDA. Yet, she has not reviewed McNeil's own
                                                                          documents about how McNeil did just that in
29     See J. Jones Dep., May 5, 2015 at 82-83, 103,                      the past— voluntarily adding an alcohol warning
       112-13, 143, 159, 194-96, 217-18, 223-25, 238-40,                  before it was mandated or reducing the maximum
       243-44 (Doc. No. 157, Ex. B). Dr. Jones testified                  daily dose before it was mandated. I agree with
       that she only read summaries of trials for Extra                   the plaintiff that her opinions about the defendants'
       Strength Tylenol's NDA that took place prior to                    duties under the monograph system should be
       1975 (when the NDA was approved), as well as                       excluded, but more so because she is not qualified
       summary material of the discussions held at the                    as an expert in this area and her opinions, which
       2002 and 2009 advisory committee meetings.                         contradict Wyeth v. Levine (explained below), are
In rendering her opinions about the defendants' handling                  not helpful to the jury.
of spontaneous reports and/or adverse event reports, she           While the plaintiff's arguments raise questions about the
admits that she only reviewed five to six years of annual          accuracy of Dr. Jones' opinions, these questions are best
summaries of the reports prepared by the defendants. 30 She        addressed on cross-examination and answered by the jury.
did not review the reports themselves to indicate whether          Whether Dr. Jones' opinion is based on all available
they appropriately complied with regulatory and/or industry        information or the best information available is an issue that
                                                                   goes to weight, not admissibility.


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By all accounts, Dr. Jones' actual methods—reviewing and
deciphering the information contained in documents provided                  [The drug manufacturer] suggests that
her based on her professional experience— are reliable ways                  the FDA, rather than the manufacturer,
of reaching opinions about industry standards and the use of                 bears primary responsibility for
AERs. For these reasons, I find that Dr. Jones' opinions on                  drug labeling. Yet through many
these two topics are reliable.                                               amendments to the FDCA and to FDA
                                                                             regulations, it has remained a central
                                                                             premise of federal drug regulation that
     c. Dr. Jones' Opinions Regarding a Manufacturer's                       the manufacturer bears responsibility
            Duties Are Misleading and not Helpful                            for the content of its label at all times.
                                                                             It is charged both with crafting an
 *6 Lastly, the plaintiff points out that Dr. Jones' opinions                adequate label and with ensuring that
are contrary to the law governing this case. Throughout her                  its warnings remain adequate as long
expert report, Dr. Jones opines that the FDA, and not the                    as the drug is on the market.
manufacturer, is ultimately responsible for the content of
the label on an OTC product such as Tylenol. 34 She also
indicates that it is very difficult for a company like McNeil    Wyeth v. Levine, 555 U.S. 555, 570-71 (2009).
to change the label or increase warnings on an OTC product
such as Tylenol under the monograph system. 35                   Dr. Jones contends that the defendants are precluded from
                                                                 changing their label to include a fasting warning because
34                                                               the FDA considered and rejected such a warning when
        See J. Jones Expert Report at 4, 13, 14, 15 (Doc.        promulgating the 2009 Final Rule. This opinion is not legally
        No. 157, Ex. 1) and J. Jones Dep., May 5, 2015 at        correct. It contradicts my ruling on the defendants' motion
        245-46 (Doc. No. 157, Ex. B)(“Q. And that is noted       for summary judgment on the plaintiff's failure-to-warn claim
        on Page 27 of your report. And it is the obligation of   and could mislead the jury as to the duties required of the
        the pharmaceutical company, that we have already         defendants (i.e., if the defendants found evidence that a
        discussed, that if they begin to see information,        fasting warning was needed, they were required to act on this
        scientific data, and information that may suggest
                                                                 knowledge to prevent injury to consumers). 36 Dr. Jones will
        that acetaminophen may cause hepatotoxicity other
                                                                 be precluded from offering such an opinion.
        than at massive overdoses or at lower doses, to
        assess that and alert the regulators, true?...
                                                                 36
        A. If they find that, of course. FDA is receiving,              See Memorandum Denying Motion for Summary
        sometimes, the same information. Q. I'm not                     Judgment on Plaintiff's Failure-to-Warn Claim,
        talking about the FDA. I'm just talking about the               November 15, 2015 at 41-43 (Doc. No. 181).
        duty of the manufacturer. That is the duty of the        Dr. Jones admits that her opinion—that the FDA, not the
        manufacturer, true? A. It is also the duty of the        manufacturer, is ultimately responsible for the content of an
        FDA, that is part of their surveillance activities as    OTC label—is not supported by Supreme Court precedent
        well.”).
                                                                 and is, in fact, inconsistent with it. 37 She also was unable
35      I note that Dr. Jones was also not given the FOIA        to point to regulations which supported her opinion. 38 Dr.
        letter from the FDA which explains what legal            Jones' opinions to this effect would be misleading and not
        duties the defendants have under the Tentative           helpful to the jury. See In Re Gadolinium-based Contrast
        Final Monograph. See J. Jones Dep., May 5, 2015          Agents Products Liability Litig., No. 1:08 GD 50000, MDL
        at 110-11, 125-26 (Doc. No. 157, Ex. B). See also        No. 1909, 2010 WL 1796334, at *30-31 (N.D. Ohio May
        FOIA Letter to Gainer, Nov. 17, 2011 (Pl. Ex. 3,         4, 2010)(“The Court will not permit Dr. Waymack to offer
        filed under seal).                                       his expert opinion on either of these topics because, as
In Wyeth v. Levine, the Supreme Court unambiguously              evidenced by both his expert report and deposition testimony,
rejected this interpretation of law:                             Dr. Waymack intends to offer opinions that are contrary to the



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Supreme Court's recent opinion in Wyeth v. Levine, 555 U.S.        and without prior FDA approval. See Memorandum Denying
555, 129 S.Ct. 1187, 173 L.Ed.2d 51 (2009)”).    39                Motion for Summary Judgment on Plaintiff's Failure-to-Warn
                                                                   Claim, November 15, 2015 at 44-48 (Doc. No. 181).
37     See J. Jones Dep., May 5, 2015 at 105-06 (Doc.
                                                                   Even if Wyeth leaves room for interpretation, Dr. Jones'
       No. 157, Ex. B)(“Q. When you say that the final
                                                                   opinions could still be misleading or could contradict my
       decision on labelling changes belongs to the FDA,
                                                                   rulings in this case. See In Re Gadolinium-based Contrast
       is that consistent or inconsistent with what the
                                                                   Agents Products Liability Litig., No. 1:08 GD 50000, MDL
       United States Supreme Court says? A: It is not
                                                                   No. 1909, 2010 WL 1796334, at *30-31 (N.D. Ohio May 4,
       supported by a decision of that particular court at
                                                                   2010)(“Technically, Dr. Waymack's observations in his report
       that time. Q. Well that is our highest court, isn't
                                                                   that the FDA possesses an advantage in evaluating safety
       it? A. Yes. Q. Okay. So your position here in bold,
                                                                   data for particular classes of drugs and has ultimate authority
       at the bottom of Page 4 is, differs from what the
                                                                   over labeling may not wholly contradict Wyeth. However, Dr.
       United States Supreme Court says, true? A: That's
                                                                   Waymack's opinions are misleading because they attempt to
       correct.”) and id. at 134 (reiterating same).
                                                                   minimize the manufacturer's role in the labeling process and
38                                                                 therefore should not be presented to the trier of fact. Given
       See J. Jones Dep., May 5, 2015 at 204-05 (Doc. No.
       157, Ex. B).                                                that Dr. Waymack's probable testimony is at best misleading
                                                                   and at worst directly contrary to the Supreme Court's holdings
39                                                                 in Wyeth, the Court, pursuant to Rule 702, precludes Dr.
       See also In re Levaquin Products Liability
       Litigation, MDL No. 08–1943 (JRT), 2010                     Waymack from testifying.”). See also Memorandum Denying
       WL 8399949, at *4-6 (D. Minn. Nov. 9,                       Motion for Summary Judgment on Plaintiff's Failure-to-Warn
       2010)(excluding opinions of Paul Waymack which              Claim, November 15, 2015 at 44 (Doc. No. 181)(“As Wyeth
       contradicted Wyeth v. Levine); In re Trasylol               made clear, the onus has always been on McNeil to ensure its
       Products Liability Litigation, No. 08–MD–01928,             label accurately reflects the risks of Extra Strength Tylenol.”).
       2010 WL 4259332, at *3-7 (S.D. Fla. Oct. 21,
       2010)(excluding Dr. Waymack's expert testimony              The defendants are correct in pointing out that they could
       “that, under the FDA regulatory scheme, it                  not unilaterally change the language of the liver warning.
       would have been inappropriate for [the drug                 It is not “incorrect” for Dr. Jones to opine that in practice,
       manufacturer] to unilaterally update the label for          pharmaceutical companies do not unilaterally change the
       Trasylol” because this opinion contradicts Wyeth            labeling for a product subject to a tentative final monograph.
       and/or would mislead jurors).                               The liver warning only (not all of the conditions which would
                                                                   make acetaminophen GRASE under the final monograph) is
 *7 The defendants argue that Dr. Jones' opinions are
                                                                   covered by a final rule. Under that final rule, the defendants
not contradictory to Wyeth because Wyeth involved a
                                                                   are required to at least have that warning on their label.
prescription drug and not an OTC product. The defendants
also claim that Wyeth’s discussion of the Changes Being
                                                                   However, the question of whether the defendants can
Effected procedure for making label changes only applies
                                                                   strengthen that warning is an entirely different one. If Dr.
to products covered by a New Drug Application (NDA).
                                                                   Jones had accurately explained the duties required by the
Because Extra Strength Tylenol is no longer covered by an
                                                                   defendants for the final liver warning rule and those required
NDA and is only regulated under the monograph system, they
                                                                   by the Tentative Final Monograph, the defendants may have a
claim Wyeth is not entirely on point with this case.
                                                                   point. However, Dr. Jones does not make this distinction and
                                                                   instead confuses the duties imposed by the final liver warning
This argument wholly ignores the defendants' own actions in
                                                                   rule with those imposed by the final monograph, which is non-
changing their labels in the past. As I explained in my decision
                                                                   existent. To allow her to offer testimony to this effect to the
denying the defendants motion for summary judgment on
                                                                   jury would be confusing or misleading.
the plaintiff's failure-to-warn claim, the defendants have, in
fact, used the CBE procedures previously for one Tylenol
                                                                   For these reasons, the following opinions of Dr. Jones will
product covered by an NDA to change the label for all Tylenol
                                                                   be precluded: that the defendants were unable to change their
products (those covered by the NDA and those covered by the
                                                                   label without prior FDA approval and that the FDA—not the
monograph system). This label change was done voluntarily


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defendants—was responsible for the contents of the Tylenol                narrative is purely ‘a repetition of the factual
label.   40                                                               allegations in plaintiffs' complaint,’ involving
                                                                          ‘nothing technical or scientific,’ that a court
40                                                                        might find the expert testimony unhelpful, because
          The plaintiff also argues that Dr. Jones is not
                                                                          the expert is providing only ‘simple inferences
          qualified to testify as an expert because she does
                                                                          drawn from uncomplicated facts.’... In this case,
          not know that FDA regulation 21 C.F.R. § 201.80
                                                                          the great majority of the documents and articles
          offers the standard for when a manufacturer is
                                                                          that Dr. Levy is reviewing and comparing are
          required to change a drug label. In supplemental
                                                                          complicated, and the inferences those documents
          briefing ordered by the court, the plaintiff admitted
                                                                          may or may not support are not at all simple.
          that this regulation does not apply in this case. This
                                                                          It is through the application of his expertise
          argument is moot.
                                                                          that Dr. Levy may allow the trier of fact to
                                                                          better understand what the documents do (and
                                                                          don't) mean, and, thus, what the defendants did
                 d. Scope of Dr. Jones' Opinion
                                                                          (or didn't) know.”)(citation omitted). See also In
 *8 The plaintiff argues that Dr. Jones' recitation of                    re Yasmin & YAZ (Drospirenone) Mktg., Sales
the regulatory history of Tylenol products is simply a                    Practices & Products Liab. Litig., 3:09-MD-02100-
regurgitation of known facts without any additional insight               DRH, 2011 WL 6302287, at *8 (S.D. Ill. Dec.
into how those facts pertain to this case. “[A]n expert cannot            16, 2011)(“As to defendant's argument regarding
be presented to the jury solely for the purpose of constructing           narrative testimony, the Court has broad discretion
a factual narrative based upon record evidence.” See In                   over the mode and order of examining witnesses
re Fosamax Prods. Liab. Litig., 645 F. Supp. 2d 164, 192                  and presenting evidence and may allow testimony
(S.D.N.Y. 2009)(citations omitted). Narrative testimony only              in narrative form at trial if the Court finds that it
                                                                          would helpful to the jury.”)(citing FED.R.EVID.
for this purpose would invade the province of the jury. 41
                                                                          611; United States v. Pless, 982 F.2d 1118, 1123
A narrative may be admissible, however, if an expert's
                                                                          (7th Cir. 1992)).
explanation of complicated facts can help a jury better
understand them. 42                                                Dr. Jones' report goes through the legislative history of the
                                                                   FDA. Dr. Jones may offer information about FDA regulations
41                                                                 as they pertain to adverse event reporting (her area of
          See Wolfe v. McNeil-PPC, Inc., No. 07–348, 2011
                                                                   regulatory expertise). She may not, however, offer opinions
          WL 1673805, at *8 (E.D. Pa. May 4, 2011)(“It
                                                                   about the regulatory framework of the NDA or monograph
          will be the role of the jury, not Dr. Goldberg,
                                                                   system because she is not an expert in this area.
          to determine if McNeil acted negligently.”); Brill
          v. Marandola, 540 F. Supp. 2d 563, 570 (E.D.
          Pa. 2008)(“Mr. Newman's extensive interpretation
          of the relevant legal documents and suggested                 e. Opinions About Whether Tylenol is GRASE
          credibility determinations as presently included
                                                                   Dr. Jones also offers an opinion about whether Tylenol is
          in his written report are not admissible because
                                                                   “generally recognized as safe and effective” or GRASE by
          they usurp the fact-finding role of the jury and
                                                                   the FDA. She claims that the FDA considers it to be GRASE.
          distract more than they aid.”); Gallatin Fuels, Inc.
                                                                   As I explained in a previous Daubert ruling regarding
          v. Westchester Fire Ins. Co., 410 F. Supp. 2d 417,
                                                                   the plaintiff's regulatory expert, whether acetaminophen is
          423 (W.D. Pa. 2006)(“An expert simply is not in
                                                                   considered GRASE by the FDA involves legal interpretation
          any better position than the jury to assess another's
          subjective intent.”).                                    of federal regulations. 43 This legal determination is the job
                                                                   of the court, not an expert or the jury. The FDA has not
42        See In re Welding Fume Prod. Liab. Litig.,               fully approved acetaminophen as GRASE because a final
          No. 1:03–CV–17000, 2005 WL 1868046, at *17               monograph for acetaminophen has not been issued. Dr. Jones'
          (N.D. Ohio Aug. 8, 2005)(“Thus, a ‘narrative’            opinions about the status of acetaminophen as GRASE will
          by an expert is not automatically inadmissible;          be excluded.
          it is only when, as in In re Rezulin, the


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                                                                         Dr. Jones is qualified to offer testimony about AERs—how
                                                                         they are regulated, what purpose they serve in the industry,
43      See Memorandum Granting in Part and Denying                      their advantages/deficiencies, etc. She also may offer general
        in Part Motion to Exclude Gerald Rachanow's                      testimony about industry standards related to label changes
        testimony, Jul. 27, 2016 (Doc. No. 241).                         (i.e., how drug manufacturers typically interact with the FDA
 *9 Dr. Jones' opinion that acetaminophen has been approved              when seeking label changes). 44 This information may help
by the FDA as GRASE by implication is also legally and                   the jury understand what a “reasonable drug manufacturer”
factually incorrect. See J. Jones Dep., May 5, 2015 at 184               would have done and whether the defendants' actions fell
(Doc. No. 157, Ex. B)(“So, by implication, if nothing, if not            below this standard of care.
specifically, it is generally recognized as safe and effective.”);
id. at 214 (“[I]n essence what has happened is that a tentative          44      For this reason, she may offer an opinion about
final monograph product, acetaminophen, has been treated as
                                                                                 plaintiff's expert opinions in these areas (case
if a final monograph in the sense of modifying the label by
                                                                                 reports/AERs) but is precluded from opining about
providing public notice, and so the, the regulatory process
                                                                                 areas outside her expertise (i.e., their qualifications
has just been speeded up.”); and id. at 319-20 (same). This
                                                                                 as experts or legal conclusions for the court to
opinion contradicts basic administrative law principles. See,
                                                                                 make).
e.g., the Administrative Procedures Act, 5 U.S.C. § 553; 21
CFR § 330.10. She also bases this opinion on that fact that              However, she is precluded from offering testimony about the
Extra Strength Tylenol was previously approved for an NDA;               monograph or NDA regulatory systems and the defendants'
however, that NDA was withdrawn by McNeil about twenty                   legal duties under those regulatory systems. Dr. Jones may
years ago. See J. Jones Dep., May 5, 2015 at 192 (Doc. No.               explain the history of label changes for Tylenol products;
157, Ex. B)(“You have a tentative final monograph, and the               however, her opinions to this extent should not contradict my
acetaminophen is marketed under that monograph as well as                rulings in this action or Supreme Court precedent Wyeth v.
an NDA. And that is why, that is the basis of my saying it is            Levine.
generally recognized as safe and effective.”); id. at 193. Her
opinion to this extent would be irrelevant and/or misleading.            An appropriate Order follows.


III. CONCLUSION                                                          All Citations
For the foregoing reasons, I will GRANT the plaintiff's
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motion in part and DENY it without prejudice in part.

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